Case 1:22-cv-00638-JMB-PJG   ECF No. 151, PageID.2694   Filed 07/05/24   Page 1 of
                                      57



                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 SCOTTIE ADAMS, KAREN ALBRIGHT,
 LISA ALLEN, SARAH ANDREWS,
 MELISSA ARAI, MARY AUDIA-VALLIER,          Case No. 1-22-cv-00638-JMB-SJB
 WAYNE BEACHY,KENYA BENWARD,
 TIFFANY BERAN, MACKENZIE BETTS,            Hon: Jane M. Beckering
 AUSTIN BOYES, LISA BRANNON,
 MARC BRANNON, AMANDA BROWN,
 KIRK BROWN, LORI BRYANT, STACEY BUC,
 KAREN BUCHANAN, LUKE BUECHE,
 HANIFAH BURCH, GRETCHEN CABRAL,
 NANCY CALLOW, PORSCHE CARSON,
 DAZHIA CHAVEZ, LATOYA CHESIL,
 MICHAEL CORMIER, MARY CORNISH,
 ELIZABETH COUTURIER, TABATHA CRONANDER,
 OLIVIA DAIS, TERESA DEMERELL, JACKIE DEWAAL,
 DAVID EDWARDS, TRACY EMORY, LINDA ENNIS,
 CHELSEA FORREST, DEBORAH FRY, TONIA FULTS,
 GISELLA GAMICCHIA, LORI GERBER,
 MOLLY GORNIEWICZ, RANDALL GOSH,
 MICHELLE HAMILTON, KAYLYNN HART,
 CHRISTINE HASKIN, CONAN RICK HAUCK,
 KATHLEEN HAWLEY, EMMA HICKEY,
 THOMAS HOWARD, MARY HRECHO,
 BREANNE HUNTER, CHRISTY HUPMAN,
 MAUREEN HUSTED, MICHELE IGRAM,
 ROSE IRISH, ROSEMARY JONES,
 STACI KANISZEWSKI, BARBARA KEHOE,
 MARJALIZE KIRSTEN, JARED KOPYDLOWSKI,
 TAMMY KRAUSE, CHERIE LACKOWSKI,
 BETTY LAWRIE, JENNA LEGGET,
 LEAH LEJA, MARY LEMERISE,
 HEATHER LIPKOWITZ, HERMAN D. LOCUST,
 ANDREW MAHNKEH, AMANDA MARSHALL,
 MORIAH MEE-LIN MARTIN, JILLIAN MARTINEZ,
 STEVEN MATHEWS, CINDY MCMURPHY,
 KIMBERLY MCNEIL, VIRGINIA MEYERS,
 KRISTEN MEASEL-MILLER, SHANDA MIDDLETON,
 JENNIFER MONTGOMERY, RACHEL MOORE,
 WENDY MORRE, LYNN MORRISON, LUKE MYERS,
 GRETA NATZEL, CHERRIE NEES,
 ANNA NEUNER, KATHLEEN NUGENT,
 LAURIE O’MEARA, SCOTT OBERTEIN,



                                      1
Case 1:22-cv-00638-JMB-PJG    ECF No. 151, PageID.2695    Filed 07/05/24   Page 2 of
                                       57



 TRACEY OLLDASHI, RENEE OSTRANDER,
 MICHELLE OWEN, CAROLE PALAZZOLO,
 BRITA PIETIILA, BEVERLY POST, JULIE POTERACKI,
 PAWEL PULAWSKI, CODY REED, SARAH REED,
 MICHELLE ROSSIE, KAITLYN RUSSCHER,
 DONA RUTHERFORD, NANCY RUONAVAARA-INGRAM,
 LINDSAY RYAN, PETER SAGMOE,
 JENNIFER SEALS, ALLORE SHARP,
 THERESA SHAW, ADRIENNE SILVESTRI,
 DAWN SPENCER, SARAH LYN SPENCER,
 LUCY STICH, SUE STORY,
 GABRIELLE ANN STAUTZENBERGER
 ANDREA STROBEL, MARIA SYJUD,
 DOROTHY THOMPSON, EMMY TUTTLE,
 ROBERT TWOREK, KIMBERLY TYLENDA,
 KYLE USELDING, SANDRA VANDER LUGT,
 DONNETTE VANDERMEER, CAMERON VANDER STEL,
 SANTANA VERMEESCH, SCOTT WALKER,
 LAURA WALTZ, AMY WEBB, ZABRINA WILALOBOS,
 LISA WILCZAK, BENJAMIN WHILHITE,
 CHRISTOPHER WILSON, LEAH WILSON,
 CARLETTE D. WOODS, CINDIA WONG, DANIEL YODER,
 CHERYL ZABARONI, SARAH ZUZIAK,
 On behalf of themselves and others similarly situated,

       Plaintiffs,
 v.

 ASCENSION MICHIGAN, ASCENSION HEALTH ALLIANCE,
 ST. VINCENT’S HEALTH SYSTEM,
 PROVIDENCE HOSPITAL, ST. VINCENT’S
 HEALTH SYSTEM, INC., ST. VINCENT HEALTH, INC,
 ASCENSION VIA CHRISTI HEALTH, INC.,
 ST. AGNES HEALTHCARE, INC.,
 OUR LADY OF LOURDES MEMORIAL HOSPITAL, INC.,
 ST. JOHN HEALTH SYSTEM, INC., SAINT THOMAS HEALTH,
 ASCENSION TEXAS, COLUMBIA ST. MARY’S, INC,
 MINISTRY HEALTH CARE, INC.,
 WHEATON FRANCISCAN HEALTH CARE –SOUTHEAST WISCONSIN, INC,

 AUTOMATED BENEFIT SERVICES, INC,
 ASCENSION CARE MANAGEMENT, LLC, ASCENSION HEALTH-IS, INC.,
 MEDXCEL FACILITIES MANAGEMENT, LLC,
 ASCENSION HEALTH MINISTRY SERVICE CENTER, LLC,
 ASCENSION MEDICAL GROUP, LLC,
 ASCENSION HEALTH RESOURCE AND SUPPLY MANAGEMENT GROUP, LLC d/b/a



                                         2
Case 1:22-cv-00638-JMB-PJG           ECF No. 151, PageID.2696            Filed 07/05/24      Page 3 of
                                              57



 THE RESOURCE GROUP,
 ASCENSION HEALTH SENIOR CARE d/b/a ASCENSION LIVING,
 ASCENSION CONNECT, LLC, ASCENSION PROVIDENCE,
 ASCENSION BORGESS ALLEGAN HOSPITAL,
 ASCENSION BORGESS HOSPITAL, ASCENSION
 BORGESS-LEE HOSPITAL, ASCENSION BORGESS-PIPP
 HOSPITAL, ASCENSION BRIGHTON CENTER FOR
 RECOVERY, ASCENSION GENESYS HOSPITAL,
 ASCENSION MACOMB-OAKLAND HOSPITAL,
 ASCENSION PROVIDENCE HOSPITAL,
 ASCENSION PROVIDENCE ROCHESTER HOSPITAL,
 ASCENSION RIVER DISTRICT HOSPITAL,
 ASCENSION ST. JOHN HOSPITAL,
 ASCENSION ST. JOSEPH HOSPITAL,
 ASCENSION ST. MARY'S HOSPITAL, and
 ASCENSION STANDISH HOSPITAL
 including all subsidiaries and affiliates, of each named entity.

          Defendants. 1

     Noah S. Hurwitz (P74063)                         Maurice G. Jenkins (P33083)
     Grant M. Vlahopoulos (P85633)                    Allan S. Rubin (P44420)
     Kara F. Krause (P85487)                          Elyse K. Culberson (P82132)
     Brendan J. Childres (P85638)                     JACKSON LEWIS P.C.
     HURWITZ LAW PLLC                                 2000 Town Center, Ste. 1650
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     (844) 487-9489                                   allan.rubin@jacksonlewis.com
     noah@hurwitzlaw.com                              elyse.culberson@jacksonlewis.com
     grant@hurwitzlaw.com                             Attorneys for Defendants
     kara@hurwitzlaw.com
     brendan@hurwitzlaw.com                           Patricia Pryor
                                                      Jackson Lewis P.C.
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     JIMMY THOMAS LAW                                 Cincinnati, OH 45202
     Attorneys for Plaintiffs                         (513) 898-0050
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     Grand Rapids, MI 49506
     (616) 747-1188
     jimmy@jimmythomaslaw.com

 1
  While Defendants do not agree to all of the allegations contained herein, they consent to the filing
 of this Fourth Amended Complaint as a substitute for the Third Amended Complaint in accordance
 with and under the same terms and conditions set forth in the Settlement Agreement [ECF 60-1]
 with respect to the filing of the Third Amended Complaint.


                                                  3
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2697           Filed 07/05/24      Page 4 of
                                             57



       FOURTH AMENDED CLASS ACTION COMPLAINT AND JURY DEMAND

        Pursuant to Fed. R. Civ. P. 15(a)(2), and with the written consent of Defendants, Amanda

 Brown, Amanda Marshall, Benjamin Whilhite, Carlette D. Woods, Christopher Wilson, Elizabeth

 Couturier, Emma Hickey, Gabrielle Ann Stautzenberger, Hanifah Burch, Herman D. Locust,

 Jackie Dewaal, Jennifer Montgomery, Kaitlyn Russcher, Kathleen Nugent, Kaylynn Hart, Kenya

 Benward, Kimberly McNeil, Kyle Uselding, Latoya Chesil, Leah Leja, Leah Wilson, Lindsay

 Ryan, Lori Bryant, Lucy Stich, Mackenzie Betts, Marjalize Kirsten, Moriah Mee-Lin Martin,

 Porsche Carson, Randall Gosh, Santana Vermeesch, Sarah Lyn Spencer, Sarah Reed, Scottie

 Adams, Steven Mathews, Tiffany Beran, Virginia Meyers, Wayne Beachy, Wendy Moore, Zabrina

 Wilalobos, Lynn Morrison, Laurie O’Meara, Jennifer Seals, and Dr. Thomas Howard, individually

 and on behalf of the Class as defined below along with Plaintiffs Karen Albright, Lisa Allen, Sarah

 Andrews, Melissa Arai, Mary Audia-Vallier, Austin Boyes, Lisa Brannon, Marc Brannon, Kirk

 Brown, Stacey Buc, Karen Buchanan, Luke Bueche, Gretchen Cabral, Nancy Callow, Dazhia

 Chavez, Michael Cormier, Mary Cornish, Tabatha Cronander, Olivia Dais, Teresa DeMerell,

 David Edwards, Tracy Emory, Linda Ennis, Chelsea Forrest, Deborah Fry, Tonia Fults, Gisella

 Gamicchia, Molly Gorniewicz, Michelle Hamilton, Christine Haskin, Kathleen Hawley, Mary

 Hrecho, Breanne Hunter, Christy Hupman, Maureen Husted, Michele Igram, Rose Irish, Rosemary

 Jones, Staci Kaniszewski, Barbara Kehoe, Jared Kopydlowski, Tammy Krause, Cherie Lackowski,

 Betty Lawrie, Jenna Leggett, Mary LeMerise, Heather Lipkowitz, Cindy McMurphy, Kristen

 Measel-Miller, Shanda Middleton, Rachel Moore, Lynn Morrison, Luke Myers, Greta Natzel,

 Carrie Nees, Anna Neuner, Kathleen Nugent, Scott Obertein, Tracey Olldashi, Renee Ostrander,

 Michelle Owen, Carole Palazzolo, Brita Pietila, Beverly Post, Julie Poteracki, Pawel Pulawski,

 Cody Reed, Michelle Rossie, Kaitlyn Russcher, Dona Rutherford, Nancy Ruonavaara-Ingram,




                                                 4
Case 1:22-cv-00638-JMB-PJG         ECF No. 151, PageID.2698          Filed 07/05/24     Page 5 of
                                            57



 Peter Sagmoe, Jennifer Seals, Allore Sharp, Theresa Shaw, Adrienne Silvestri, Dawn Spencer, Sue

 Story, Andrea Strobel, Maria Myjud, Dorothy Thompson, Emmy Tuttle, Robert Tworek, Kimberly

 Tylenda, Sandra Vander Lugt, Donnette VanderMeer, Cameron Vander Stel, Scott Walker, Laura

 Waltz, Amy Webb, Lisa Wilczak, Cindia Wong, and Daniel Yoder, Lori Gerber, Conan Rick

 Hauck, Jillian Martinez, and Andrew Mahnkeh (“Plaintiffs”) or (“Class Representatives”) submit

 this Fourth Amended Complaint, by and through the undersigned attorneys, and state the

 following:

                                       INTRODUCTION

        1.     Thousands of healthcare workers were placed on an involuntary, indefinite, unpaid

 leave of absence in November 2021. In December 2021, Defendants recalled the wrongfully

 disciplined employees back to work. Accordingly, this class action lawsuit seeks damages for all

 of Defendants’ employees who were temporarily denied a religious accommodation from the

 COVID-19 vaccine and suspended without pay nationwide.

                          PARTIES, JURISDICTION, AND VENUE

        2.     Karen Albright resides in Grand Blanc, Michigan. Plaintiff Albright asserts that

 she was employed by Defendant Ascension Genesys Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting

 in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Albright.

        3.     Ms. Albright received a Right to Sue letter from the EEOC on August 31, 2022.

        4.     Lisa Allen resides in Waterford, Michigan. Plaintiff Allen asserts that she was

 employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of




                                                5
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2699          Filed 07/05/24      Page 6 of
                                             57



 Ascension Health Alliance, Defendant St. John Hospital, and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff Allen.

        5.      Ms. Allen received a Right to Sue letter from the EEOC on June 1, 2022.

        6.      Sarah Andrews resides in Saginaw, Michigan. Plaintiff Andrews asserts that she

 was employed by Ascension St. Mary’s Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. Mary’s Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Andrews.

        7.      Ms. Andrews received a Right to Sue letter from the EEOC on July 28, 2022.

        8.      Melissa Arai resides in Livonia, Michigan. Plaintiff Arai asserts that she was

 employed by Ascension Providence Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Providence Hospital, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Arai.

        9.      Ms. Arai received a Right to Sue letter from the EEOC on June 8, 2022.

        10.     Mary Audia-Vallier resides in Clinton Township, Michigan. Plaintiff Audia-

 Vallier asserts that she was employed by Ascension St. John Hospital and Ascension Health

 Alliance. The actions of Ascension Health Alliance, Defendant Ascension St. John Hospital, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Audia-Vallier.

        11.     Ms. Audia-Vallier received a Right to Sue letter from the EEOC on May 26, 2022.

        12.     Austin Boyes resides in Woodhaven, Michigan. Plaintiff Boyes asserts that he was

 employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Boyes.




                                                6
Case 1:22-cv-00638-JMB-PJG           ECF No. 151, PageID.2700          Filed 07/05/24     Page 7 of
                                              57



        13.       Mr. Boyes received a Right to Sue letter from the EEOC on September 29, 2022.

        14.       Lisa Brannon resides in Davison, Michigan. Plaintiff Brannon asserts that she was

 employed by Ascension Genesys Hospital and Ascension Health Alliance.             The actions of

 Ascension Health Alliance, Defendant Ascension Genesys Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Brannon.

        15.       Ms. Brannon received a Right to Sue letter from the EEOC on August 3, 2022.

        16.       Marc Brannon resides in Davison, Michigan. Plaintiff Brannon asserts that he was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.             The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Brannon.

        17.       Mr. Brannon received a Right to Sue letter from the EEOC on June 28, 2022.

        18.       Kirk Brown resides in Fenton, Michigan. Plaintiff Brown asserts that he was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.             The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Brown.

        19.       Mr. Brown received a Right to Sue letter from the EEOC on June 28, 2022.

        20.       Stacey Buc resides in Warren, Michigan. Plaintiff Buc asserts that she was

 employed by Defendant Ascension Macomb-Oakland Hospital and Ascension Health Alliance.

 The actions of Ascension Health Alliance, Defendant Ascension Macomb-Oakland Hospital, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Buc.

        21.       Ms. Buc received a Right to Sue letter from the EEOC on May 9, 2022.




                                                  7
Case 1:22-cv-00638-JMB-PJG         ECF No. 151, PageID.2701          Filed 07/05/24       Page 8 of
                                            57



        22.    Karen Buchanan resides in Lapeer, Michigan. Plaintiff Buchanan asserts that she

 was employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Buchanan.

        23.    Ms. Buchanan received a Right to Sue letter from the EEOC on August 15, 2022.

        24.    Luke Bueche resides in Flint, Michigan. Plaintiff Bueche asserts that she was

 employed by Ascension St. Mary’s Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. Mary’s Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Bueche.

        25.    Mr. Bueche received a Right to Sue letter from the EEOC on September 29, 2022.

        26.    Gretchen Cabral resides in Warren, Michigan. Plaintiff Cabral asserts that she was

 employed by Ascension St. Mary’s Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. Mary’s Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Cabral.

        27.    Ms. Cabral received a Right to Sue letter from the EEOC on July 30, 2022.

        28.    Nancy Callow resides in Livonia, Michigan. Plaintiff Callow asserts that she was

 employed by Ascension Medical Group, LLC and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Medical Group, LLC, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Callow.

        29.    Ms. Callow received a Right to Sue letter from the EEOC on June 2, 2022.

        30.    Dahzia Chavez resides in VanBuren Township, Michigan. Plaintiff Chavez asserts

 that she was employed by Ascension Health Ministry Service Center, LLC and Ascension Health

 Alliance. The actions of Ascension Health Alliance, Defendant Ascension Health Ministry




                                                8
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2702          Filed 07/05/24     Page 9 of
                                             57



 Service Center, LLC, and others acting in concert with them in connection with the COVID-19

 Vaccination Policy injured Plaintiff Chavez.

        31.     Ms. Chavez received a Right to Sue letter from the EEOC on April 26, 2022.

        32.     Michael Cormier resides in Grand Blanc, Michigan. Plaintiff Cormier asserts that

 he was employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Cormier.

        33.     Mr. Cormier received a Right to Sue letter from the EEOC on June 28, 2022.

        34.     Mary Cornish resides in Mussey, Michigan. Plaintiff Cornish asserts that she was

 employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Cornish.

        35.     Ms. Cornish received a Right to Sue letter from the EEOC on July 28, 2022.

        36.     Tabatha Cronander resides in Rochester, Michigan. Plaintiff Cronander asserts that

 she was employed by Ascension Providence Rochester Hospital and Ascension Health Alliance.

 The actions of Ascension Health Alliance, Defendant Ascension Providence Rochester Hospital,

 and others acting in concert with them in connection with the COVID-19 Vaccination Policy

 injured Plaintiff Cronander.

        37.     Ms. Cronander received a Right to Sue letter from the EEOC on July 28, 2022.

        38.     Olivia Dais resides in Richland, Michigan. Plaintiff Dais asserts that she was

 employed by Ascension Borgess Hospital and Ascension Health Alliance.            The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Dais.




                                                9
Case 1:22-cv-00638-JMB-PJG             ECF No. 151, PageID.2703      Filed 07/05/24      Page 10
                                               of 57



        39.    Ms. Dais received a Right to Sue letter from the EEOC on July 30, 2022.

        40.    Teresa DeMerell resides in Portage, Michigan. Plaintiff DeMerell asserts that she

 was employed by Ascension Borgess Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff DeMerell.

        41.    Ms. DeMerell received a Right to Sue letter from the EEOC on June 22, 2022.

        42.    David Edwards resides in Grand Ledge, Michigan. Plaintiff Edwards asserts that

 he was employed by Ascension Michigan and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Michigan, and others acting in concert with them

 in connection with the COVID-19 Vaccination Policy injured Plaintiff Edwards.

        43.    Mr. Edwards received a Right to Sue letter from the EEOC on May 25, 2022.

        44.    Tracy Emory resides in Flushing, Michigan. Plaintiff Emory asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.           The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Emory.

        45.    Ms. Emory received a Right to Sue letter from the State of Michigan Department

 of Civil Rights on October 4, 2022.

        46.    Linda Ennis resides in Wolverine Lake, Michigan. Plaintiff Ennis asserts that she

 was employed by Ascension Providence Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Providence Hospital, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Ennis.

        47.    Ms. Ennis received a Right to Sue letter from the EEOC on July 5, 2022.




                                               10
Case 1:22-cv-00638-JMB-PJG         ECF No. 151, PageID.2704          Filed 07/05/24        Page 11
                                           of 57



        48.    Chelsea Forrest resides in Commerce Township, Michigan. Plaintiff Forrest asserts

 that she was employed by Ascencion St. John Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting

 in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Forrest.

        49.    Ms. Forrest received a Right to Sue letter from the EEOC on July 5, 2022.

        50.    Deborah Fry resides in Gobles, Michigan. Plaintiff Fry asserts that she was

 employed by Ascension Borgess Hospital and Ascension Health Alliance.          The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Fry.

        51.    Ms. Fry received a Right to Sue letter from the EEOC on June 6, 2022.

        52.    Tonia Fults resides in Burton, Michigan. Plaintiff Fults asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.          The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Fults.

        53.    Ms. Fults received a Right to Sue letter from the EEOC on September 13, 2022.

        54.    Gisella Gamicchia resides in St. Clair Shores, Michigan. Plaintiff Gamicchia

 asserts that she was employed by Ascension St. John Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting

 in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Gamicchia.

        55.    Ms. Gamicchia received a Right to Sue letter from the EEOC on July 30, 2022.




                                               11
Case 1:22-cv-00638-JMB-PJG         ECF No. 151, PageID.2705           Filed 07/05/24      Page 12
                                           of 57



        56.    Molly Gorniewicz resides in Grand Rapids, Michigan. Plaintiff Gorniewicz asserts

 that she was employed by Ascension Borgess Allegan Hospital and Ascension Health Alliance.

 The actions of Ascension Health Alliance, Defendant Ascension Borgess Allegan Hospital, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Gorniewicz.

        57.    Ms. Gorniewicz received a Right to Sue letter from the EEOC on June 28, 2022.

        58.    Michelle Hamilton resides in Grand Blanc, Michigan. Plaintiff Hamilton asserts

 that she was employed by Ascension Genysis Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting

 in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Hamilton.

        59.    Ms. Hamilton received a Right to Sue letter from the EEOC on April 14, 2022.

        60.    Christine Haskin resides in Rochester, Michigan. Plaintiff Haskin asserts that she

 was employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Haskin.

        61.    Ms. Haskin received a Right to Sue letter from the EEOC on June 9, 2022.

        62.    Kathleen Hawley resides in Fenton, Michigan. Plaintiff Hawley asserts that she

 was employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Hawley.

        63.    Ms. Hawley received a Right to Sue letter from the EEOC on July 5, 2022.




                                               12
Case 1:22-cv-00638-JMB-PJG         ECF No. 151, PageID.2706           Filed 07/05/24      Page 13
                                           of 57



        64.    Thomas Howard resides in Kalamazoo, Michigan. Plaintiff Howard asserts that he

 was employed by Ascension Borgess-Pipp Hospital and Ascension Health Alliance. The actions

 of Ascension Health Alliance, Defendant Ascension Borgess-Pipp, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Howard.

        65.    Mr. Howard received a Right to Sue letter from the EEOC on May 24, 2022.

        66.    Mary Hrecho resides in St. Clair, Michigan.. Plaintiff Hrecho asserts that she was

 employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Hrecho.

        67.    Ms. Hrecho received a Right to Sue letter from the EEOC on June 5, 2022.

        68.    Breanne Hunter resides in Byron, Michigan. Plaintiff Hunter asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Hunter.

        69.    Ms. Hunter received a Right to Sue letter from the EEOC on June 10, 2022.

        70.    Christy Hupman resides in Troy, Michigan. Plaintiff Hupman asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.           The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Hupman.

        71.    Ms. Hupman received a Right to Sue letter from the EEOC on July 28, 2022.

        72.    Maureen Husted resides in Beverly Hills, Michigan. Plaintiff Husted asserts that

 she was employed by Ascension Providence Hospital and Ascension Health Alliance. The actions




                                               13
Case 1:22-cv-00638-JMB-PJG              ECF No. 151, PageID.2707          Filed 07/05/24      Page 14
                                                of 57



 of Ascension Health Alliance, Defendant Ascension Providence Hospital, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Husted.

         73.        Ms. Husted received a Right to Sue letter from the EEOC on September 29, 2022.

         74.        Michele Igram resides in Flint, Michigan. Plaintiff Igram asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.               The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Igram.

         75.        Ms. Igram received a Right to Sue letter from the EEOC on April 28, 2022.

         76.        Rose Irish resides in Birch Run, Michigan. Plaintiff Irish asserts that she was

 employed by Ascension St. Mary’s Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. Mary’s Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Irish.

         77.        Ms. Irish received a Right to Sue letter from the EEOC on June 8, 2022.

         78.        Rosemary Jones resides in Oxford, Michigan. Plaintiff Jones asserts that she was

 employed by Ascension Providence Rochester Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Providence Rochester Hospital, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Jones.

         79.     Ms. Jones received a Right to Sue letter from the EEOC on June 2, 2022.

         80.     Staci Kaniszewski resides in Au Gres, Michigan. Plaintiff Kaniszewski asserts that

 she was employed by Ascension St. Joseph Hospital and Ascension Health Alliance. The actions

 of Ascension Health Alliance, Defendant Ascension St. Joseph Hospital, and others acting in




                                                   14
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2708           Filed 07/05/24     Page 15
                                            of 57



 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Kaniszewski.

        81.     Ms. Kaniszewski received a Right to Sue letter from the EEOC on July 30, 2022.

        82.     Barbara Kehoe resides in St. Clair, Michigan. Plaintiff Kehoe asserts that she was

 employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Kehoe.

        83.     Ms. Kehoe received a Right to Sue letter from the EEOC on September 29, 2022.

        84.     Jared Kopydlowski resides in Fenton, Michigan. Plaintiff Kopydlowski asserts that

 he was employed by Medxcel Facilities Managements, LLC and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Medxcel Facilities Managements, LLC, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Kopydlowski.

        85.     Mr. Kopydlowski received a Right to Sue letter from the EEOC on June 7, 2022.

        86.     Tammy Krause resides in Linden, Michigan. Plaintiff Krause asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.            The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Krause.

        87.     Ms. Krause received a Right to Sue letter from the EEOC on June 27, 2022.

        88.     Cherie Lackowski resides in Oakland Center Township, Michigan.           Plaintiff

 Lackowski asserts that she was employed by Ascension Providence Rochester Hospital and

 Ascension Health Alliance. The actions of Ascension Health Alliance, Defendant Ascension




                                                15
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2709           Filed 07/05/24     Page 16
                                            of 57



 Providence Rochester Hospital, and others acting in concert with them in connection with the

 COVID-19 Vaccination Policy injured Plaintiff Lackowski.

        89.     Ms. Lackowski received a Right to Sue letter from the EEOC on June 7, 2022.

        90.     Betty Lawrie resides in Schwartz Creek, Michigan. Plaintiff Lackowski asserts that

 she was employed by Ascension Providence Rochester Hospital and Ascension Health Alliance.

 The actions of Ascension Health Alliance, Defendant Ascension Providence Rochester Hospital,

 and others acting in concert with them in connection with the COVID-19 Vaccination Policy

 injured Plaintiff Lawrie.

        91.     Ms. Lawrie received a Right to Sue letter from the EEOC on September 29, 2022.

        92.     Jenna Leggett resides in Kalamazoo, Michigan. Plaintiff Leggett asserts that she

 was employed by Ascension Borgess Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Leggett.

        93.     Ms. Leggett received a Right to Sue letter from the EEOC on September 29, 2022.

        94.     Mary LeMerise resides in Canton, Michigan. Plaintiff LeMerise asserts that she

 was employed by Ascension Medical Group, LLC and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Medical Group, LLC, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 LeMerise.

        95.     Ms. LeMerise received a Right to Sue letter from the EEOC on June 23, 2022.

        96.     Heather Lipkowitz resides in Davison, Michigan. Plaintiff Lipkowitz asserts that

 she was employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of




                                                16
Case 1:22-cv-00638-JMB-PJG           ECF No. 151, PageID.2710          Filed 07/05/24     Page 17
                                             of 57



 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Lipkowitz.

         97.    Ms. Lipkowitz received a Right to Sue letter from the EEOC on May 16, 2022.

         98.    Cindy McMurphy resides in Schwartz Creek, Michigan. Plaintiff McMurphy

 asserts that she was employed by Ascension Genysis Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting

 in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 McMurphy.

         99.    Ms. McMurphy received a Right to Sue letter from the EEOC on September 13,

 2022.

         100.   Kristen Measel-Miller resides in Macomb, Michigan. Plaintiff Measel-Miller

 asserts that she was employed by Ascension Providence Rochester Hospital and Ascension Health

 Alliance. The actions of Ascension Health Alliance, Defendant Ascension Providence Rochester

 Hospital, and others acting in concert with them in connection with the COVID-19 Vaccination

 Policy injured Plaintiff Measel-Miller.

         101.   Ms. Measel-Miller received a Right to Sue letter from the EEOC on July 28, 2022.

         102.   Shanda Middleton resides in Marcellus, Michigan. Plaintiff Middleton asserts that

 she was employed by Ascension Borgess Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Middleton.

         103.   Ms. Middleton received a Right to Sue letter from the EEOC on May 27, 2022.

         104.   Rachel Moore resides in Ortonville, Michigan. Plaintiff Moore asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.            The actions of




                                                17
Case 1:22-cv-00638-JMB-PJG             ECF No. 151, PageID.2711          Filed 07/05/24      Page 18
                                               of 57



 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Moore.

        105.       Ms. Moore received a Right to Sue letter from the EEOC on June 2, 2022.

        106.       Lynn Morrison resides in Kalamazoo, Michigan. Plaintiff Morrison asserts that she

 was employed by Ascension Borgess Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Morrison.

        107.       Ms. Morrison received a Right to Sue letter from the EEOC on June 6, 2022.

        108.       Luke Myers resides in Kalamazoo, Michigan. Plaintiff Myers asserts that he was

 employed by Ascension Borgess Hospital and Ascension Health Alliance.              The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Myers.

        109.       Mr. Myers received a Right to Sue letter from the EEOC on June 6, 2022.

        110.       Greta Natzel resides in Lennon, Michigan. Plaintiff Natzel asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.              The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Natzel.

        111.       Ms. Natzel received a Right to Sue letter from the EEOC on August 15, 2022.

        112.       Carrie Nees resides in Holly, Michigan.     Plaintiff Nees asserts that she was

 employed by Ascension Providence Rochester Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Providence Rochester Hospital, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Nees.




                                                  18
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2712          Filed 07/05/24      Page 19
                                            of 57



        113.   Ms. Nees received a Right to Sue letter from the EEOC on June 22, 2022.

        114.   Anna Neuner resides in Macomb, Michigan. Plaintiff Neuner asserts that she was

 employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Neuner.

        115.   Ms. Neuner received a Right to Sue letter from the EEOC on August 19, 2022.

        116.   Kathleen Nugent resides in Algonac, Michigan. Plaintiff Nugent asserts that she

 was employed by Ascension River District Hospital and Ascension Health Alliance. The actions

 of Ascension Health Alliance, Defendant Ascension River District Hospital, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Nugent.

        117.   Ms. Nugent received a Right to Sue letter from the EEOC on June 28, 2022.

        118.   Scott Obertein resides in Pinconning, Michigan. Plaintiff Obertein asserts that he

 was employed by Ascension St. Mary’s Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. Mary’s Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Obertein.

        119.   Mr. Obertein received a Right to Sue letter from the EEOC on May 12, 2022.

        120.   Tracey Olldashi resides in Macomb, Michigan. Plaintiff Olldashi asserts that she

 was employed by Ascension Providence Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Providence Hospital, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Olldashi.

        121.   Ms. Olldashi received a Right to Sue letter from the EEOC on June 24, 2022.

        122.   Laura O’Meara resides in Lake Orion, Michigan. Plaintiff O’Meara asserts that she

 was employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of




                                               19
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2713           Filed 07/05/24     Page 20
                                            of 57



 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff O’Meara.

        123.    Ms. O’Meara received a Right to Sue letter from the EEOC on July 5, 2022.

        124.    Renee Ostrander resides in Armada, Michigan. Plaintiff Ostrander asserts that she

 was employed by Ascension Providence Rochester Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Providence Rochester Hospital, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Ostrander.

        125.    Ms. Ostrander received a Right to Sue letter from the EEOC on May 25, 2022.

        126.    Michelle Owen resides in Mattawan, Michigan. Plaintiff Owen asserts that she was

 employed by Ascension Borgess Hospital and Ascension Health Alliance.            The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Owen.

        127.    Ms. Owen received a Right to Sue letter from the EEOC on June 30, 2022.

        128.    Carole Palazzolo resides in Fraser, Michigan. Plaintiff Palazzolo asserts that she

 was employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Palazzolo.

        129.    Ms. Palazzolo received a Right to Sue letter from the EEOC on July 21, 2022.

        130.    Brita Pietila resides in Howell, Michigan. Plaintiff Pietila asserts that she was

 employed by Ascension Health Ministry Service Center, LLC and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Health Ministry Service Center, LLC,




                                                20
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2714           Filed 07/05/24      Page 21
                                              of 57



 and others acting in concert with them in connection with the COVID-19 Vaccination Policy

 injured Plaintiff Pietila.

         131.    Ms. Pietila received a Right to Sue letter from the EEOC on September 29, 2022.

         132.    Beverly Post resides in Wayland, Michigan. Plaintiff Post asserts that she was

 employed by Ascension Borgess-Pipp Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Borgess-Pipp Hospital, and others acting in concert with

 them in connection with the COVID-19 Vaccination Policy injured Plaintiff Post.

         133.    Ms. Post received a Right to Sue letter from the State of Michigan Department of

 Civil Rights on July 6, 2022.

         134.    Julie Poteracki resides in Saint Clair Shores, Michigan. Plaintiff Poteracki asserts

 that she was employed by Ascension St. John Hospital and Ascension Health Alliance. The actions

 of Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Poteracki.

         135.    Ms. Poteracki received a Right to Sue letter from the EEOC on June 7, 2022.

         136.    Pawel Pulawski resides in Clinton Township, Michigan. Plaintiff Pulawski asserts

 that he was employed by Ascension St. John Hospital and Ascension Health Alliance. The actions

 of Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Pulawski.

         137.    Mr. Pulawski received a Right to Sue letter from the EEOC on September 30, 2022.

         138.    Cody Reed resides in Vicksburg, Michigan. Plaintiff asserts that he was employed

 by Ascension Borgess Hospital and Ascension Health Alliance. The actions of Ascension Health

 Alliance, Defendant Ascension Borgess Hospital, and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff Reed.




                                                  21
Case 1:22-cv-00638-JMB-PJG           ECF No. 151, PageID.2715          Filed 07/05/24      Page 22
                                             of 57



         139.   Mr. Reed received a Right to Sue letter from the EEOC on April 28, 2022.

         140.   Michelle Rossie resides in Grand Blanc, Michigan. Plaintiff Rossie asserts that she

 was employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Rossie.

         141.   Ms. Rossie received a Right to Sue letter from the EEOC on June 24, 2022.

         142.   Nancy Ruonavaara-Ingram resides in Garden City, Michigan.                 Plaintiff

 Ruonavaara-Ingram asserts that she was employed by Ascension Providence Hospital and

 Ascension Health Alliance. The actions of Ascension Health Alliance, Defendant Ascension

 Providence Hospital, and others acting in concert with them in connection with the COVID-19

 Vaccination Policy injured Plaintiff Ruonavaara-Ingram.

         143.   Ms. Ruonavaara-Ingram received a Right to Sue letter from the EEOC on July 28,

 2022.

         144.   Kaitlyn Russcher resides in Hamilton, Michigan. Plaintiff Russcher asserts that she

 was employed by Ascension Borgess Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Russcher.

         145.   Ms. Russcher received a Right to Sue letter from the EEOC on May 17, 2022.

         146.   Dona Rutherford resides in Clarkston, Michigan. Plaintiff Rutherford asserts that

 she was employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Rutherford.




                                                22
Case 1:22-cv-00638-JMB-PJG           ECF No. 151, PageID.2716           Filed 07/05/24      Page 23
                                             of 57



         147.   Ms. Rutherford received a Right to Sue letter from the EEOC on September 29,

 2022.

         148.   Peter Sagmoe resides in Holland, Michigan. Plaintiff Sagmoe asserts that he was

 employed by Ascension Borgess Allegan Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Allegan Hospital, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Sagmoe.

         149.   Mr. Sagmoe received a Right to Sue letter from the EEOC on April 28, 2022.

         150.   Jennifer Seals resides in Paw Paw, Michigan an. Plaintiff Seals asserts that she was

 employed by Ascension Borgess Hospital and Ascension Health Alliance.              The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Seals.

         151.   Ms. Seals received a Right to Sue letter from the EEOC on June 16, 2022.

         152.   Allore Sharp resides in Fenton, Michigan.      Plaintiff Sharp asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.              The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Sharp.

         153.   Ms. Sharp received a Right to Sue letter from the EEOC on June 30, 2022.

         154.   Sue Story resides in Kalamazoo, Michigan. Plaintiff Story asserts that she was

 employed by Ascension Borgess Hospital and Ascension Health Alliance.              The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Story.

         155.   Ms. Story received a Right to Sue letter from the EEOC on September 29, 2022.




                                                 23
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2717          Filed 07/05/24      Page 24
                                              of 57



         156.    Theresa Shaw resides in Flint, Michigan. Plaintiff Shaw asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.              The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Shaw.

         157.    Ms. Shaw received a Right to Sue letter from the EEOC on June 1, 2022.

         158.    Adrienne Silvestri resides in Harrison Township, Michigan. Plaintiff Silvestri

 asserts that she was employed by Ascension Providence Hospital and Ascension Health Alliance.

 The actions of Ascension Health Alliance, Defendant Ascension Providence Hospital, and others

 acting in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Silvestri.

         159.    Ms. Silvestri received a Right to Sue letter from the EEOC on August 4, 2022.

         160.    Dawn Spencer resides in Lapeer, Michigan. Plaintiff Spencer asserts that she was

 employed by Ascension Providence Rochester Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Providence Rochester Hospital, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Spencer.

         161.    Ms. Spencer received a Right to Sue letter from the EEOC on June 6, 2022.

         162.    Andrea Strobel resides in Leonard, Michigan. Plaintiff Strobel asserts that she was

 employed by Ascension Providence Rochester Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Providence Rochester Hospital, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Strobel.

         163.    Ms. Strobel received a Right to Sue letter from the EEOC on June 1, 2022.




                                                 24
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2718          Filed 07/05/24      Page 25
                                              of 57



         164.    Maria Syjud resides in Shelby Township, Michigan. Plaintiff Syjud asserts that she

 was employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Syjud.

         165.    Ms. Syjud received a Right to Sue letter from the EEOC on June 5, 2022.

         166.    Dorothy Thompson resides in Flint, Michigan. Plaintiff Thompson asserts that she

 was employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Thompson.

         167.    Ms. Thompson received a Right to Sue letter from the EEOC on May 16, 2022.

         168.    Emmy Tuttle resides in Rochester Hills, Michigan. Plaintiff Tuttle asserts that she

 was employed by Ascension Providence Rochester Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Providence Rochester Hospital, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Tuttle.

         169.    Ms. Tuttle received a Right to Sue letter from the EEOC on June 1, 2022.

         170.    Robert Tworek resides in Livonia, Michigan. Plaintiff Tworek asserts that he was

 employed by Ascension Michigan and Ascension Health Alliance. The actions of Ascension

 Health Alliance, Defendant Ascension Michigan, and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff Tworek.

         171.    Mr. Tworek received a Right to Sue letter from the EEOC on May 27, 2022.

         172.    Kimberly Tylenda resides in Goodrich, Michigan. Plaintiff Tylenda asserts that

 she was employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of




                                                 25
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2719          Filed 07/05/24     Page 26
                                            of 57



 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Tylenda.

        173.    Ms. Tylenda received a Right to Sue letter from the EEOC on April 22, 2022.

        174.    Sandra Vander Lugt resides in Richland, Michigan. Plaintiff Vander Lugt asserts

 that she was employed by Ascension Borgess Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting

 in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Vander Lugt.

        175.    Ms. Vander Lugt received a Right to Sue letter from the EEOC on August 5, 2022.

        176.    Donnette VanderMeer resides in Kalamazoo, Michigan. Plaintiff VanderMeer

 asserts that she was employed by Ascension Borgess Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting

 in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 VanderMeer.

        177.    Ms. VanderMeer received a Right to Sue letter from the EEOC on August 4, 2022.

        178.    Cameron Vander Stel resides in Grand Rapids, Michigan. Plaintiff Vander Stel

 asserts that he was employed by Ascension Borgess-Pipp Hospital and Ascension Health Alliance.

 The actions of Ascension Health Alliance, Defendant Ascension Borgess-Pipp Hospital, and others

 acting in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Vander Stel.

        179.    Mr. Vander Stel received a Right to Sue letter from the EEOC on May 10, 2022.

        180.    Scott Walker resides in South Haven, Michigan. Plaintiff Walker asserts that he

 was employed by Ascension Borgess Hospital and Ascension Health Alliance. The actions of




                                               26
Case 1:22-cv-00638-JMB-PJG         ECF No. 151, PageID.2720          Filed 07/05/24       Page 27
                                           of 57



 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Walker.

        181.   Mr. Walker received a Right to Sue letter from the EEOC on May 31, 2022.

        182.   Laura Waltz resides in Pinckney, Michigan. Plaintiff Waltz asserts that she was

 employed by Ascension Providence Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Providence Hospital, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Waltz.

        183.   Ms. Waltz received a Right to Sue letter from the EEOC on June 6, 2022.

        184.   Amy Webb resides in Schoolcraft, Michigan. Plaintiff Webb asserts that she was

 employed by Ascension Borgess Hospital and Ascension Health Alliance.          The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Webb.

        185.   Ms. Webb received a Right to Sue letter from the EEOC on July 30, 2022.

        186.   Lisa Wilczak resides in Holly, Michigan. Plaintiff Wilczak asserts that she was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.          The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Wilczak.

        187.   Ms. Wilczak received a Right to Sue letter from the EEOC on April 20, 2022.

        188.   Cindia Wong resides in Livonia, Michigan. Plaintiff Wong asserts that she was

 employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Wong.

        189.   Ms. Wong received a Right to Sue letter from the EEOC on June 28, 2022.




                                              27
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2721          Filed 07/05/24      Page 28
                                              of 57



        190.    Daniel Yoder resided in Owosso, Michigan. Plaintiff Yoder asserts that he was

 employed by Ascension Genysis Hospital and Ascension Health Alliance.              The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Yoder.

        191.    Mr. Yoder received a Right to Sue letter from the EEOC on August 4, 2022.

        192.    Amanda Brown resides in Friendsville, New York. Plaintiff Brown asserts that she

 was employed by Our Lady of Lourdes Memorial Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Our Lady of Lourdes Memorial Hospital, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Brown.

        193.    Amanda Marshall resides in Ypsilanti, Michigan. Plaintiff Marshall asserts that

 she was employed by Ascension Brighton Center for Recovery and Ascension Health Alliance.

 The actions of Ascension Health Alliance, Defendant Ascension Brighton Center for Recovery,

 and others acting in concert with them in connection with the COVID-19 Vaccination Policy

 injured Plaintiff Brown.

        194.    Benjamin Whilhite resides in Lexington, Kentucky. Plaintiff Whilhite asserts that

 he was employed by Ascension Health Resource and Supply Management Group, LLC d/b/a The

 Resource Group and Ascension Health Alliance. The actions of Ascension Health Alliance,

 Defendant Ascension Health Resource and Supply Management Group, LLC d/b/a The Resource

 Group, and others acting in concert with them in connection with the COVID-19 Vaccination

 Policy injured Plaintiff Whilhite.

        195.    Carlette D. Woods resides in Jacksonville, Florida. Plaintiff Woods asserts that she

 was employed by Ascension Health IS, Inc. and Ascension Health Alliance. The actions of




                                                 28
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2722           Filed 07/05/24     Page 29
                                            of 57



 Ascension Health Alliance, Defendant Ascension Health IS, Inc., and others acting in concert with

 them in connection with the COVID-19 Vaccination Policy injured Plaintiff Woods.

        196.    Christopher Wilson resides in Indianapolis, Indiana. Plaintiff Wilson asserts that

 he was employed by Ascension Health Alliance. The actions of Ascension Health Alliance and

 others acted in concert with them in connection to the COVID-19 Vaccination Policy injured

 Plaintiff Wilson.

        197.    Elizabeth Couturier resides in Owosso, Michigan. Plaintiff Couturier asserts that

 she was employed by Ascension Genysis Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Genysis Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Couturier.

        198.    Emma Hickey resides in Wichita, Kansas.      Plaintiff Hickey asserts that she was

 employed by Ascension Via Christi Health, Inc. and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Via Christi Health, Inc, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Hickey.

        199.    Gabrielle Ann Stautzenberger resides in Austin, Texas,. Plaintiff Stautzenberger

 asserts that she was employed by Ascension Texas and Ascension Health Alliance. The actions

 of Ascension Health Alliance, Defendant Ascension Texas, and others acting in concert with them

 in connection with the COVID-19 Vaccination Policy injured Plaintiff Stautzenberger.

        200.    Hanifah Burch resides in Roseville, Michigan. Plaintiff Burch asserts that she was

 employed by Automated Benefits Services, Inc. and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Automated Benefits Services, Inc., and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Burch.




                                                29
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2723          Filed 07/05/24      Page 30
                                            of 57



        201.   Herman D. Locust resides in Romulus, Michigan. Plaintiff Locust asserts that he

 was employed by Ascension St. John Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. John Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Locust.

        202.   Jackie Dewaal resides in Allegan, Michigan. Plaintiff Dewaal asserts that she was

 employed by Ascension Borgess Hospital and Ascension Health Alliance.            The actions of

 Ascension Health Alliance, Defendant Ascension Borgess Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Dewaal.

        203.   Jennifer Montgomery resides in Chattanooga, Tennessee. Plaintiff Montgomery

 asserts that she was employed by Ascension Senior Care d/b/a Ascension Living and Ascension

 Health Alliance. The actions of Ascension Health Alliance, Defendant Ascension Senior Care

 d/b/a Ascension Living, and others acting in concert with them in connection with the COVID-19

 Vaccination Policy injured Plaintiff Montgomery.

        204.   Kaitlyn Russcher resides in Hamilton, Michigan. Plaintiff Russcher asserts that she

 was employed by Ascension Borgess Allegan Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Borgess Allegan Hospital, and others

 acting in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Russcher.

        205.   Kathleen Nugent resides in Clay, Michigan. Plaintiff Nugent asserts that she was

 employed by Ascension River District Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant River District Hospital, and others acting in concert with

 them in connection with the COVID-19 Vaccination Policy injured Plaintiff Nugent.




                                               30
Case 1:22-cv-00638-JMB-PJG           ECF No. 151, PageID.2724          Filed 07/05/24      Page 31
                                             of 57



        206.    Kaylynn Hart resides in Warren, Michigan. Plaintiff Hart asserts that she was

 employed by Ascension Health Ministry Service Center, LLC and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Health Ministry Service Center, LLC,

 and others acting in concert with them in connection with the COVID-19 Vaccination Policy

 injured Plaintiff Hart.

        207.    Kenya Benward resides in Moss Point, Mississippi. Plaintiff Benward asserts that

 she was employed by Ascension Medical Group, LLC and Ascension Health Alliance. The actions

 of Ascension Health Alliance, Defendant Ascension Medical Group, LLC, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Benward.

        208.    Kimberly McNeil resides in Troy, Michigan. Plaintiff McNeil asserts that she was

 employed by Ascension Michigan and Ascension Health Alliance. The actions of Ascension

 Health Alliance, Defendant Ascension Michigan, and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff McNeil.

        209.    Kyle Uselding resides in Fredonia, Wisconsin. Plaintiff Uselding asserts that he

 was employed by Medxcel Facilities Management, LLC and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Medxcel Facilities Management, LLC, and

 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiff Benward.

        210.    Latoya Chesil resides in Baltimore, Maryland. Plaintiff Chesil asserts that she was

 employed by St. Agnes Healthcare, Inc. and Ascension Health Alliance. The actions of Ascension

 Health Alliance, Defendant St. Agnes Healthcare, Inc., and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff Chesil.




                                                31
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2725          Filed 07/05/24      Page 32
                                            of 57



        211.   Leah Leja resides in Milwaukee, Wisconsin. Plaintiff Leja asserts that she was

 employed by Columbia St. Mary’s Inc. and Ascension Health Alliance. The actions of Ascension

 Health Alliance, Defendant Columbia St. Mary’s Inc, and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff Leja.

        212.   Leah Wilson resides in Springfield, Tennesse. Plaintiff Wilson asserts that she was

 employed by Ascension Care Management, LLC and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Care Management, LLC, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Wilson.

        213.   Lindsay Ryan resides in Trussville, Alabama. Plaintiff Ryan asserts that she was

 employed by St. Vincent’s Health System and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant St. Vincent’s Health System, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Ryan.

        214.   Lori Bryant resides in Oakland, Michigan. Plaintiff Bryant asserts that she was

 employed by Ascension Macomb-Oakland and Ascension Health Alliance.              The actions of

 Ascension Health Alliance, Defendant Ascension Macomb-Oakland, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Bryant.

        215.   Lucy Stich resides in Brookfield, Wisconsin. Plaintiff Stich asserts that she was

 employed by Ministry Health Care, Inc. and Ascension Health Alliance. The actions of Ascension

 Health Alliance, Defendant Ministry Health Care, Inc., and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff Stich.

        216.   Mackenzie Betts resides in Waterford, Michigan. Plaintiff Betts asserts that she

 was employed by Ascension Providence Rochester Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Providence Rochester Hospital, and




                                               32
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2726          Filed 07/05/24      Page 33
                                              of 57



 others acting in concert with them in connection with the COVID-19 Vaccination Policy injured

 Plaintiffs Betts.

         217.    Marjalize Kirsten resides in Bryon Center, Michigan. Plaintiff Kirsten asserts that

 she was employed by Ascension Borgess-Pipp Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Borgess-Pipp Hospital, and others

 acting in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Kirsten.

         218.    Moriah Mee-Lin Martin resides in Columbia, Tennessee. Plaintiff Mee-Lin asserts

 that she was employed by Saint Thomas Health and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Saint Thomas Health, and others acting in concert with

 them in connection with the COVID-19 Vaccination Policy injured Plaintiff Mee-Lin.

         219.    Porsche Carson resides in Southfield, Michigan. Plaintiff Carson asserts that she

 was employed by Ascension Providence Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Providence Hospital, and others acting in

 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Carson.

         220.    Randall Gosh resides in South Milwaukee, Wisconsin. Plaintiff Gosh asserts that

 he was employed by Wheaton Franciscan Health Care Southeast Wisconsin, Inc. and Ascension

 Health Alliance. The actions of Ascension Health Alliance, Defendant Wheaton Franciscan

 Health Care Southeast Wisconsin, Inc., and others acting in concert with them in connection with

 the COVID-19 Vaccination Policy injured Plaintiff Gosh.

         221.    Santana Vermeesch resides in Saginaw, Michigan. Plaintiff Vermeesch asserts that

 he was employed by Ascension St. Mary’s Hospital and Ascension Health Alliance. The actions

 of Ascension Health Alliance, Defendant Ascension St. Mary’s Hospital, and others acting in




                                                 33
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2727          Filed 07/05/24     Page 34
                                            of 57



 concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Vermeesch.

        222.   Sarah Lyn Spencer resides in Omer, Michigan. Plaintiff Spencer asserts that she

 was employed by Ascension Standish Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Standing Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Vermeesch.

        223.   Sarah Reed resides in Fleming Island, Florida. Plaintiff Reed asserts that she was

 employed by St. Vincent’s Health System, Inc. and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant St. Vincent’s Health System, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Reed.

        224.   Scottie Adams resides in Lucedale, Mississippi. Plaintiff Adams asserts that he

 was employed by Providence Hospital and Ascension Health Alliance. The actions of Ascension

 Health Alliance, Defendant Providence Hospital, and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff Adams.

        225.   Steven Mathews resides in Waco, Texas. Plaintiff Mathews asserts that he was

 employed by Ascension Providence and Ascension Health Alliance. The actions of Ascension

 Health Alliance, Defendant Ascension Providence, and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff Mathews.

        226.   Tiffany Beran resides in Turner, Michigan. Plaintiff Beran asserts that she was

 employed by Ascension St. Joseph Hospital and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension St. Joseph Hospital, and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Beran.




                                               34
Case 1:22-cv-00638-JMB-PJG          ECF No. 151, PageID.2728          Filed 07/05/24     Page 35
                                            of 57



        227.   Virginia Meyers resides in Eldon, Missouri. Plaintiff Meyers asserts that she was

 employed by Ascension Connect, LLC and Ascension Health Alliance. The actions of Ascension

 Health Alliance, Defendant Ascension Connect, LLC, and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff Meyers.

        228.   Wayne Beachy resides in Broken Arrow, Oklahoma. Plaintiff Beachy asserts that

 he was employed by St. John Health System, Inc. and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant St. John Health System, Inc., and others acting in concert

 with them in connection with the COVID-19 Vaccination Policy injured Plaintiff Breachy.

        229.   Wendy Moore resides Indianapolis, Indiana. Plaintiff Moore asserts that she was

 employed by St. Vincent Health, Inc. and Ascension Health Alliance. The actions of Ascension

 Health Alliance, Defendant St. Vincent Health, Inc., and others acting in concert with them in

 connection with the COVID-19 Vaccination Policy injured Plaintiff Moore.

        230.   Zabrina Wilalobos resides in Dowagiac, Michigan. Plaintiff Wilalobos asserts that

 she was employed by Ascension Borgess Lee Hospital and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Borgess Lee Hospital, and others

 acting in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Wilalobos.

        231.   Lori Gerber resides in Conway Springs, Kansas. Plaintiff Gerber asserts that she

 was employed by Ascension Health IS, Inc. and Ascension Health Alliance. The actions of

 Ascension Health Alliance, Defendant Ascension Health IS, Inc. and others acting in concert with

 them in connection with the COVID-19 Vaccination Policy injured Plaintiff Gerber.

        232.   Conan Rich Hauck resides in Austin, Texas. Plaintiff Hauck asserts that he was

 employed by Ascension Texas and Ascension Health Alliance. The actions of Ascension Health




                                               35
Case 1:22-cv-00638-JMB-PJG           ECF No. 151, PageID.2729           Filed 07/05/24      Page 36
                                             of 57



 Alliance, Defendant Ascension Texas, and others acting in concert with them in connection with

 the COVID-19 Vaccination Policy injured Plaintiff Hauck.

        233.    Jillian Martinez resides in Dearborn Heights, Michigan. Plaintiff Martinez asserts

 that she was employed by Ascension Care Management, LLC and Ascension Health Alliance. The

 actions of Ascension Health Alliance, Defendant Ascension Care Management, LLC, and others

 acting in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Martinez.

        234.    Andrew Mahnkeh resides in Oak Creek, Wisconsin. Plaintiff Mahnkeh asserts that

 he was employed by Franciscan Health Care - Southeast Wisconsin, Inc. The actions of Ascension

 Health Alliance, Defendant Franciscan Health Care – Southeast Wisconsin, Inc., and others acting

 in concert with them in connection with the COVID-19 Vaccination Policy injured Plaintiff

 Mahnkeh.

        235.    Defendant Ascension Health Alliance is a national non-profit and Catholic health

 system that includes approximately 134,000 employees, 35,000 affiliated providers and 140

 hospitals, and serves communities in 19 states and the District of Columbia with its network of

 hospitals. Ascension Health Alliance owns in whole or in part all co-Defendants in this Fourth

 Amended Complaint and effectuated the Ascension Health Alliance COVID-19 Vaccination

 Policy adopted by all co-Defendants.

        236.    Defendants Ascension Michigan, St. Vincent’s Health System, Providence

 Hospital, St. Vincent’s Health System, Inc., St. Vincent Health, Inc, Ascension Via Christi Health,

 Inc., St. Agnes Healthcare, Inc., Our Lady of Lourdes Memorial Hospital, Inc., St. John Health

 System, Inc., Saint Thomas Health, Ascension Texas, Columbia St. Mary’s, Inc, Ministry Health

 Care, Inc., Wheaton Franciscan Health Care –Southeast Wisconsin, Inc, Us Health And Life




                                                 36
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2730            Filed 07/05/24      Page 37
                                              of 57



 Insurance Company, Inc., Automated Benefit Services, Inc, Ascension Care Management, LlLC,

 Ascension Health-Is, Inc., Medxcel Facilities Management, LLC, Ascension Health Ministry

 Service Center, Llc, Ascension Medical Group, LLC, Ascension Health Resource And Supply

 Management Group, LLC d/b/a The Resource Group, Ascension Health Senior Care D/B/A

 Ascension Living, and Ascension Connect, LLC are entities owned in whole or part by Ascension

 Health Alliance and they own and/or operate hospitals and medical facilities in the states of

 Alabama, the District of Columbia, Florida, Indiana, Kansas, Maryland, Michigan, Missouri, New

 York, Oklahoma, Tennessee, Texas, and Wisconsin and adopted the Ascension Health Alliance

 COVID-19 Vaccination Policy at all of their facilities.

        237.    To have standing, a plaintiff must have suffered an injury-in-fact that is fairly

 traceable to a defendant’s conduct and is therefore likely redressable by the court. Lujan v. Defens.

 Of Wildlife, 504 U.S. 555, 560-61 (1992).

        238.    Here, Plaintiffs suffered injuries when Defendants suspended Plaintiffs without pay

 after Defendants denied Plaintiffs’ requests for religious accommodation to Defendant Ascension

 Health Alliance’s (and its affiliates’) COVID-19 vaccine mandate.

        239.    All other Defendants are part of Ascension Health Alliance’s network and enacted

 the same uniform COVID-19 vaccine mandate.

        240.    Plaintiffs’ injuries were caused by Defendant Ascension Health Alliance and its

 affiliates’ discriminatory enforcement of its COVID-19 vaccine mandate which resulted in

 Defendants denying Plaintiffs’ religious accommodation requests and suspending Plaintiffs

 without pay.

        241.    Plaintiffs’ injuries are redressable by monetary compensation..




                                                  37
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2731             Filed 07/05/24      Page 38
                                              of 57



        242.    All of plaintiffs’ alleged injuries and those of the class members, are fairly traceable

 to Ascension Health Alliance.

        243.    One or more or of the plaintiffs’ injuries are fairly traceable to each of the other

 Defendants.

        244.    This Court has original jurisdiction over the Title VII of the Civil Rights Act of

 1964 (“Title VII”) claims pursuant to 28 U.S.C. § 1331, supplemental jurisdiction over any

 applicable state law claim claims pursuant to 28 U.S.C. § 1367, and subject matter jurisdiction

 pursuant to 28 U.S.C. §1332(d) because this is a class action in which the amount in controversy

 exceeds $5,000,000, there are more than 100 putative class members, and the majority of putative

 class members are citizens of a state different than the state of which Defendants are citizens.

        245.    Venue is proper in the Western District of Michigan pursuant to 28 U.S.C. §

 1391(b)(1) because it is the judicial district in which one or more Defendant operates its businesses.

        246.    The “single-filing” rule allows plaintiffs to “piggyback” onto the timely and valid

 charge of a named plaintiff with the U.S. Equal Employment Opportunity Commission (EEOC).

 Calloway v. Partners National Health Plans, 986 F.2d 446, 450 (11th Cir. 1993). Plaintiffs have

 all received a Notice of Right to Sue from the U.S. Equal Employment Opportunity Commission

 (“EEOC”) within the past 90 days.

                                   FACTUAL ALLEGATIONS

                              Defendants’ Mandatory Vaccine Policy

        247.    On July 27, 2021, Defendants announced a COVID-19 vaccine mandate for all

 employees, without regard to level of patient interaction.

        248.    Defendants utilized a “portal” for handling religious accommodation requests

 wherein employees were made to provide information to assist it in determining which employees




                                                  38
Case 1:22-cv-00638-JMB-PJG           ECF No. 151, PageID.2732           Filed 07/05/24     Page 39
                                             of 57



 were sufficiently religious.

        249.    Employees applying for accommodation were instructed to write a “description of

 how use of this vaccination is a violation of your moral conscience,” and their descriptions were

 “not to exceed 4,000 characters.” The portal contained a check box stating: “I understand that

 should I fail to be vaccinated or granted exemption on or before 5:00 pm on November 12, 2021,

 I will be suspended . . . Continued failure to comply will be deemed voluntary resignation.”

        250.    Defendants did not require independent contractors, vendors, temporary staff,

 patients, visitors, or any other individuals on Defendants’ premises to be vaccinated.

        251.    The last day for employees to be vaccinated was November 12, 2021:

        252.    Defendants’ policy stated:

                Ascension will require that all associates be vaccinated against
                COVID-19, whether or not they provide direct patient care, and
                whether they work in our sites of care or remotely . . . In those
                instances when someone may not be able to get vaccinated due to a
                medical condition or strongly held religious belief, Ascension will
                provide its associates a process for requesting an exemption similar
                to the process we use for the annual influenza vaccine.

        253.    Initially after introducing the COVID-19 vaccine mandate, Defendants granted

 both religious and medical accommodation to the first employees that applied for the same.

        254.    However, Defendants then switched course and violated its own policy by

 implementing a blanket prohibition on COVID-19 vaccine accommodation.

        255.    Employees protested the vaccine mandate en masse.

        256.    The Secretary of Health and Human Services issued an interim final rule on

 November 5, 2021 that hospitals must “ensure that staff are fully vaccinated for COVID-19.” 86

 Fed. Reg. 61568 (2021).




                                                 39
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2733             Filed 07/05/24      Page 40
                                              of 57



        257.    Defendants assert they relied on this November 5, 2021 rule in enforcing the

 vaccine mandate, even though the rule was issued fifteen (15) weeks after Defendants announced

 the vaccine mandate.

        258.    “The [interim final] rule requires providers to offer medical and religious

 exemptions.” Biden v. Missouri, 142 S. Ct. 647, 651 (Jan. 13, 2022). The interim final rule states:

                In implementing the COVID-19 vaccination policies and procedures
                required by this IFC, however, employers must comply with
                applicable Federal anti-discrimination laws and civil rights
                protections . . . In other words, employers following . . . the new
                requirements . . . may also be required to provide appropriate
                accommodations . . . for employees who request and receive
                exemption from vaccination because of a sincerely held religious
                belief, practice, or observance . . . Under Federal law, including . . .
                Title VII of the Civil Rights Act of 1964 . . . workers who cannot be
                vaccinated or tested because of . . . sincerely held religious beliefs,
                practice, or observance may in some circumstances be granted an
                exemption from their employer . . . Employers must also follow
                Federal laws protecting employees from retaliation for requesting
                an exemption on account of religious belief.

 86 Fed. Reg. 61569, 61572 (2021).

        259.    The federal vaccine mandate was never intended to apply to remote employees or

 contractors: “Facilities that employ or contract for services by staff who telework full-time (that is,

 100 percent of their time is remote from sites of patient care, and remote from staff who do work

 at sites of care) should identify and monitor these individuals . . . but those individuals need not be

 subject to the vaccination requirements.” Id. at 61571 (emphasis added).

        260.    Defendants’ practices directly contravene the rule it purportedly relied on.

        261.    Defendants actively coerced employees to abandon their religious convictions.

        262.    Employees who were denied religious accommodation to the vaccine mandate were

 forced into the horrible position of choosing between vaccination or unpaid suspension.




                                                   40
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2734             Filed 07/05/24      Page 41
                                              of 57



        263.    “Forcing individuals to choose between their faith and their livelihood imposes an

 obvious and substantial burden on religion . . . vaccine mandates . . . presents a crisis of conscience

 for many people of faith. It forces them to choose between the two most profound obligations they

 will ever assume—holding true to their religious commitments and feeding and housing their

 children. To many, this is the most horrifying of Hobson’s choices.” Sambrano v. United Airlines,

 Inc., 19 F.4th 839, 841 (5th Cir. 2021).

        264.    With respect to the COVID-19 Vaccination Policy, Defendants acted in concert

 with each other. All Plaintiffs and class members claim to be injured by Ascension Health

 Alliance’s COVID-19 Vaccination Policy and its decisions on religious accommodation requests.

 Defendants each adopted the Ascension Health Alliance COVID-19 Vaccination Policy at all of

 their facilities and, acting in concert with one another, enforced the policy and Ascension Health

 Alliance’s decisions against one or more Plaintiffs. For purposes of the COVID-19 Vaccination

 Policy, Ascension Health Alliance was a joint employer over all Plaintiffs and class members.

                          Plaintiffs’ Religious Accommodation Requests

        265.    Plaintiffs and the Class submitted religious accommodations requests before the

 deadline.

        266.    Their requests for accommodation were denied in emails that were three (3)

 sentences in length: “Your request for a religious exemption . . . has been denied.”

        267.    Plaintiffs were given seven (7) days to “add information.”

        268.    Plaintiffs were told that failure to “add information” before the arbitrary deadline

 would result in the decision becoming final.

        269.    Plaintiffs and the Class all worked safely and successfully for Defendants prior to

 the vaccine mandate.




                                                   41
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2735           Filed 07/05/24       Page 42
                                              of 57



        270.    There are a host of reasonable accommodations that Defendants failed to consider.

        271.    Plaintiffs and the Class could have tested daily to confirm whether they were not

 ill.

        272.    Plaintiffs and the Class could have engaged in frequent sanitizing and disinfecting.

        273.    Plaintiffs and the Class could have worn gloves and respirators in the workplace.

        274.    Plaintiffs and the Class could have transferred to more solitary positions.

        275.    Defendants made employees work in-person throughout the pandemic. Before any

 vaccine was developed, the following safety measures were deemed sufficiently effective to

 protect employees, patients, and their loved ones: daily testing, enhanced sanitation measures,

 including handwashing and disinfecting, gloves and respirators, and social distancing whenever

 practicable.

        276.    Examples of reasonable accommodations include wearing a mask, working “at a

 social distance” from others, working a modified shift, getting tested, and being given the

 opportunity to telework. U.S. EQUAL EMPL. OPPORTUNITY COMM’N, What You Should Know About

 COVID-19 and the ADA, the Rehabilitation Act, and Other EEO Laws (May 28, 2021).

        277.    “If the employer denies the employee’s proposed accommodation, the employer

 should explain to the employee why the preferred accommodation is not being granted.” Id.

        278.    Defendants did not explain to Plaintiffs why accommodation could not be granted.

        279.    Generally, the sincerity of an employee’s religious beliefs “is not open to question.”

 United States v Seeger, 380 U.S. 163, 185 (1965). Title VII’s statutory definition of “religion”

 includes “all aspects of religious observance and practice, as well as belief.” 42 U.S.C. § 2000e(j).

        280.    Defendants’ religious animus is evidenced by the fact that, while it refused to

 accommodate employees who rejected the vaccine on religious grounds, it readily accommodated




                                                  42
Case 1:22-cv-00638-JMB-PJG           ECF No. 151, PageID.2736           Filed 07/05/24      Page 43
                                             of 57



 employees who sought medical exemptions to the COVID-19 vaccine, including pregnant

 employees.

        281.    Defendants’ religious animus is further evidenced by the fact that, while it refuses

 to accommodate employees who reject the vaccine on religious grounds, it did not require

 independent contractors, vendors, patients or their visitors to be vaccinated, even though they

 interact with Defendants’ staff and providers.

        282.    Defendants evaded any sort of “bilateral cooperation,” Ansonia Bd. of Educ. v.

 Philbrook, 479 U.S. 60, 69 (1986), when it granted a false “accommodation” of an unpaid leave

 of absence. “Bilateral cooperation is appropriate in the search for an acceptable reconciliation of

 the needs of the employee’s religion and the exigencies of the employer’s business.” Id.

        283.    Defendants’ accommodation process was arbitrary and inconsistent.

        284.    Members of the Putative Class were told by management that Defendants would

 not grant any religious accommodations.

        285.    Defendants granted some accommodation requests based on pure favoritism.

        286.    Defendants unnecessarily shared the private health information of Plaintiffs with

 coworkers.

        287.    Defendants did not explore available reasonable accommodations from the vaccine.

        288.    Plaintiffs and Class Members were placed on unpaid suspensions on November

 12, 2021.

        289.    Plaintiffs and Class Members           were gradually recalled to work beginning

 approximately five (5) weeks later due to “legal challenges” and “staffing challenges.”




                                                  43
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2737             Filed 07/05/24      Page 44
                                              of 57



        290.    Plaintiffs and Class Members were told the following over the telephone: “The

 reason that we are contacting you is to let you know the vaccine suspension that you were placed

 on has been recalled and they are asking you to return to work.”

        291.    Inexplicably, many employees who were denied religious accommodations were

 not recalled to work. Defendants instead used the religious accommodation denials as a method

 to reduce headcount in some departments.

        292.    Many employees who had been suspended were told that their positions had been

 filled during their absence and were told they could only apply for new jobs.

        293.    Defendants refused to provide unlawfully suspended employees with back pay.

                   Defendants Did Not Base Its Decision on Undue Hardship,
                           Nor Could It Establish Undue Hardship

        294.    The prohibition against religious discrimination imposes a “duty” on employers to

 accommodate sincere religious beliefs, absent “undue hardship.” Trans World Airlines, Inc. v.

 Hardison, 432 U.S. 63, 74 (1977).

        295.    The employer, not the employee, bears the burden of showing “that it is unable to

 reasonably accommodate the employee’s religious beliefs without incurring undue hardship.”

 McDaniel v. Essex Intern., Inc., 571 F.2d 338, 341 (6th Cir.1978).

        296.    An employer does not satisfy its burden of proving undue hardship “merely by

 showing that an accommodation would be bothersome to administer or disruptive of the operating

 routine.” Draper v. United States Pipe & Foundry Co., 527 F.2d 515, 520 (6th Cir.1975). The

 operative word is “undue,” meaning that “something greater” than a mere hardship is required. Id.

        297.    Defendants cannot satisfy its burden of proving undue hardship.

        298.    Defendants, without citing any scientific evidence, alleges that unvaccinated

 employees pose a substantial “risk of infection or death to hospital patients, staff, and visitors.”



                                                  44
Case 1:22-cv-00638-JMB-PJG              ECF No. 151, PageID.2738           Filed 07/05/24       Page 45
                                                of 57



         299.      Defendants’ allegations are based in religious animus rather than science.

         300.      Defendants cannot allege undue hardship when some of its employees, including

 pregnant employees, were granted medical accommodations to the vaccine mandate.

         301.      Defendants cannot allege undue hardship when it began recalling unvaccinated

 employees approximately five (5) weeks after initially suspending them, meaning that any undue

 hardship must have seemingly disappeared for no apparent reason in the meantime.

         302.      Plaintiffs and the Class were not requesting a license to roam about uninhibited

 without sanitizing or wearing any personal protective equipment (“PPE”), as though no health

 threat existed.

         303.      Plaintiffs and the Class were more than willing to comply with all safety protocols.

         304.      Defendant’s allegations of undue hardship lack scientific backing and, in fact,

 directly contravene scientific evidence supporting the effectiveness of practices such as

 handwashing and wearing respirators in preventing infection and death. Stella Talic et al.,

 Effectiveness of public health measures in reducing the incidence of covid-19, SARS-CoV-2

 transmission, and covid-19 mortality: systematic review and meta-analysis, BRIT. MED. J (2021).

         305.      Plaintiffs had been engaging in these alternative practices, which had been deemed

 effective throughout the pandemic for approximately eighteen (18) months before the mandate.

                                      CLASS ACTION ALLEGATIONS

         306.      Plaintiffs Lynn Morrison, Laurie O’Meara, Jennifer Seals, Dr. Thomas Howard,

 Amanda Brown, Amanda Marshall, Andrew Mahnkeh, Benjamin Whilhite, Carlette D. Woods,

 Christopher Wilson, Conan Rick Hauck, Elizabeth Couturier, Emma Hickey, Gabrielle Ann

 Stautzenberger, Hanifah Burch, Herman D. Locust, Jackie Dewaal, Jennifer Montgomery, Jillian

 Martinez, Kaitlyn Russcher, Kathleen Nugent, Kaylynn Hart, Kenya Benward, Kimberly McNeil,




                                                    45
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2739           Filed 07/05/24      Page 46
                                              of 57



 Kyle Uselding, Latoya Chesil, Leah Leja, Leah Wilson, Lindsay Ryan, Lori Bryant, Lori Gerber,

 Lucy Stich, Mackenzie Betts, Marjalize Kirsten, Moriah Mee-Lin Martin, Porsche Carson,

 Randall Gosh, Santana Vermeesch, Sarah Lyn Spencer, Sarah Reed, Scottie Adams, Steven

 Mathews, Tiffany Beran, Virginia Meyers, Wayne Beachy, Wendy Moore, and Zabrina Wilalobos

 assert claims on behalf of the “Putative Class,” defined as follows:

                Class: All Ascension Associates for whom all of the following
                apply: (a) the Associate applied for a religious exemption to the
                COVID-19 Vaccination Policy and has a sincerely held religious
                belief that conflicted with the COVID-19 Vaccination Policy; and
                (b) the Associate was denied the requested religious exemption, and
                (c) the Associate either (i) was suspended or otherwise removed
                from employment by Ascension in November 2021 or (ii) claims
                they were forced to leave their employment with Ascension before
                February 28, 2022, after and as a result of their denied religious
                exemption to the COVID 19-Vaccination Policy. 2

        307.    Class Representatives. Dr. Thomas Howard asserts claims on behalf of Class

 Members who worked as Physicians, Physician Assistants, and Nurse Practitioners at any of

 Defendants’ facilities nationwide. Lynn Morrison R.N. asserts claims on behalf of all registered

 and licensed practical nurses at any of Defendants’ facilities nationwide. Laurie O’Meara and

 Jennifer Seals assert claims on behalf of all other employees of Defendants at any of Defendants’

 facilities nationwide.

        308.    Numerosity. The Putative Class is so numerous that joinder of all Class members

 is impracticable. Upon information and belief, more than five hundred of Defendants’ employees

 satisfy the definition of the Putative Classes.




 2
   “Ascension” means “all Defendants in the Action, including Ascension Health Alliance, and all
 their related and affiliated entities that adopted the Ascension Health Alliance, or a substantially
 similar, COVID-19 Vaccination Policy.” To avoid any doubt, Ascension as used herein is intended
 to include each and every Ascension Health Alliance affiliate or related entity that adopted the
 Ascension Health Alliance, or a substantially similar, COVID-19 Vaccination Policy.”


                                                   46
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2740           Filed 07/05/24      Page 47
                                              of 57



         309.   Typicality. Plaintiffs’ claims are typical of the members of the Putative Class. For

 all members of the Putative Class, Defendants did not conduct an individualized assessment of the

 religious accommodation requests submitted. Instead, Defendants imposed a policy blanketly

 denying all religious accommodation requests and then suspended members of the Putative Class

 without pay. The legal violations suffered by the Plaintiffs are typical to those suffered by other

 Putative Class members, and Defendants treated Plaintiffs consistent with other Putative Class

 members in accordance with its standard policies and practices.

         310.   Adequacy. Plaintiffs are adequate representatives of the Putative Class. Plaintiffs’

 interests are aligned with, and are not antagonistic to, the interests of the members of the Putative

 Class. Plaintiffs have retained counsel competent and experienced in complex class action

 litigation.

         311.   Commonality. Common questions of law and fact exist as to all members of the

 Putative Class and predominate over any questions solely affecting individual members of the

 Putative Class, including but not limited to:

                a.      Whether Defendants imposed a blanket policy denying religious

                        accommodations to the COVID-19 vaccine to all employees;

                b.      Whether Defendants violated Title VII and various state laws by failing to

                        consider whether members of the Putative Class had sincerely held religious

                        beliefs;

                c.      Whether Defendants violated Title VII and various state laws by failing to

                        consider whether there were reasonable accommodations for members of

                        the Putative Class that would not pose an undue burden on Defendants.

                d.      Whether Defendants suspended members of the Putative Class.




                                                  47
Case 1:22-cv-00638-JMB-PJG             ECF No. 151, PageID.2741         Filed 07/05/24      Page 48
                                               of 57



                 e.      Whether members of the Putative Class felt they were forced to leave

                         Defendants employment and as a result were constructively discharged;

                 f.      Whether Defendants reversed the religious accommodation denials and

                         recalled members of the Putative Class back to work;

                 g.      The proper measure of statutory and punitive damages; and

                 h.      The proper form of declaratory relief.

         312.    This case is maintainable as a class action under Fed. R. Civ. P. 23(b)(1) because

 prosecution of actions by or against individual members of the Putative Classes would result in

 inconsistent or varying adjudications and create the risk of incompatible standards of conduct for

 Defendants. Further, adjudication of each individual Class member’s claim as a separate action

 would potentially be dispositive of the interest of other individuals not a part to such action,

 impeding their ability to protect their interests.

         313.    This case is maintainable as a class action under Fed. R. Civ. P. 23(b)(2) because

 Defendants acted or refused to act on grounds that apply generally to the Putative Classes, so that

 relief is appropriate respecting the Class as a whole.

         314.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3) because

 questions of law and fact common to the Putative Class predominate over any questions affecting

 only individual members of the Putative Class, and because a class action is superior to other

 available methods of the fair and efficient adjudication of this litigation. Defendants’ conduct

 described in this Complaint stems from common and uniform policies and practices, resulting in

 common violations of Title VII and state law. Members of the Putative Class do not have an

 interest in pursuing separate actions against Defendants, as the amount of each Class member’s

 individual claims is small compared to the expense and burden of individual prosecution, Class




                                                      48
Case 1:22-cv-00638-JMB-PJG             ECF No. 151, PageID.2742            Filed 07/05/24     Page 49
                                               of 57



 certification will also obviate the need for unduly duplicative litigation that might result in

 inconsistent judgments concerning Defendants’ practices. Moreover, management of this action

 as a class action will not present any likely difficulties. In the interests of justice and judicial

 efficiency, it would be desirable to concentrate the litigation of all Putative Class members’ claims

 in a single forum.

          315.   Plaintiffs have sent notice to all members of the Putative Classes to the extent

 required by Rule 23.

                                   COUNT I
                 VIOLATION OF TITLE VII, 42 U.S.C. § 2000e, et seq.
            RELIGIOUS DISCRIMINATION–FAILURE TO ACCOMMODATE
           ON BEHALF OF PLAINTIFFS AND OTHERS SIMILARLY SITUATED

          316.   Plaintiffs restate the foregoing paragraphs as set forth fully herein.

          317.   Title VII prohibits an employer from discriminating against an employee “because

 of such individual’s . . . religion.” 42 U.S.C. § 2000e-2(a)(1). Title VII’s definition of “religion”

 includes “all aspects of religious observance and practice, as well as belief.” 42 U.S.C. § 2000e(j).

          318.   Plaintiffs and the Class can establish prima facie cases of discrimination by

 showing (1) they hold sincere religious beliefs that conflict with an employment requirement; (2)

 they informed their employer of same; and (3) they were disciplined for failing to comply with the

 employment requirement.” Yeager v. FirstEnergy Generation Corp, 777 F.3d 362, 363 (6th Cir.

 2015).

          319.   Plaintiffs hold sincere religious beliefs that conflict with the vaccine mandate.

          320.   Plaintiffs and the Class informed their employer of same.

          321.   Plaintiffs and the Class were disciplined for failing to comply with the vaccine

 mandate or felt like they were forced to resign.




                                                    49
Case 1:22-cv-00638-JMB-PJG              ECF No. 151, PageID.2743            Filed 07/05/24     Page 50
                                                of 57



         322.     Defendants evaded any sort of “bilateral cooperation,” Ansonia Bd. of Educ. v.

 Philbrook, 479 U.S. 60, 69 (1986), when it granted a false “accommodation” of an unpaid leave

 of absence, which is not an accommodation at all. Defendants have thereby violated the law.

         323.     Multiple reasonable accommodations could have been offered without undue

 hardship, including sanitizing, disinfecting, handwashing, respirator-wearing, and testing.

         324.     Defendants never explained why they could not be accommodated.

         325.     Defendants never explained why no accommodations could have worked.

         326.     Plaintiffs and the Class have suffered emotional and physical distress, mental and

 physical anguish, loss of reputation, humiliation, embarrassment, and the physical effects

 associated therewith because of the denial of their requests, and they will so suffer in the future.

         327.     Plaintiffs and the Class have been denied employment and placed in financial

 distress and they have suffered a loss of earnings and benefits, loss of health insurance coverage,

 and a loss of and impairment of their earning capacity and ability to work because of the denial of

 their request.

         328.     Plaintiffs have been required to employ the services of an attorney as a result.

         329.     Defendants’ actions were intentional and/or reckless.

         330.     Involuntary, indefinite unpaid leave is not a religious accommodation.

                                 COUNT II
                VIOLATION OF TITLE VII, 42 U.S.C. § 2000e, et seq.
                 RELIGIOUS DISCRIMINATION–RETALIATION
          ON BEHALF OF PLAINTIFFS AND OTHERS SIMILARLY SITUATED

         331.     Plaintiffs restate the foregoing paragraphs as set forth fully herein.

         332.     It is unlawful for an employer to retaliate against employees who communicate

 about employment discrimination or request accommodation for a religious practice.

         333.     Plaintiffs engaged in protected activity when they requested accommodations.



                                                    50
Case 1:22-cv-00638-JMB-PJG              ECF No. 151, PageID.2744            Filed 07/05/24     Page 51
                                                of 57



           334.   Defendants retaliated against them by suspending them on November 12, 2021.

           335.   Defendants’ threat of unpaid suspension was clearly intended to force employees

 to abandon their religious beliefs and receive the vaccine.

           336.   Plaintiffs and the Class have suffered emotional and physical distress, mental and

 physical anguish, loss of reputation, humiliation, embarrassment, and the physical effects

 associated therewith because of the unlawful retaliatory conduct, and she will so suffer in the

 future.

           337.   Plaintiffs and the Class have been denied employment and placed in financial

 distress and she has suffered a loss of earnings and benefits, and a loss of and impairment of their

 earning capacity and ability to work because of the retaliatory conduct, and she will so suffer in

 the future.

           338.   Plaintiffs and the Class have been required to employ the services of an attorney as

 a result.

           339.   Defendants’ actions were intentional and/or reckless.

                             COUNT III
   RELIGIOUS DISCRIMINATION–FAILURE TO ACCOMMODATE UNDER STATE
   LAW ON BEHALF OF ALL PLAINTIFFS AND OTHERS SIMILARLY SITUATED

           340.   Plaintiffs restate the foregoing paragraphs as set forth fully herein.

           341.   Plaintiffs and the Class hold sincere religious beliefs that conflict with the vaccine

 mandate.

           342.   Plaintiffs and the Class informed their employer of same.

           343.   Plaintiffs and the Class were disciplined for failing to comply with the vaccine

 mandate or felt like they were forced to resign.




                                                    51
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2745            Filed 07/05/24       Page 52
                                              of 57



        344.     Defendants evaded any sort of “bilateral cooperation,” Ansonia Bd. of Educ. v.

 Philbrook, 479 U.S. 60, 69 (1986), when it granted a false “accommodation” of an unpaid leave

 of absence, which is not an accommodation at all. Defendants therefore violated the law.

        345.     Multiple reasonable accommodations could have been offered without undue

 hardship, including sanitizing, disinfecting, handwashing, respirator-wearing, and testing.

        346.     Defendants never explained why they could not accommodate Plaintiffs.

        347.     Defendants never explained why no accommodations could have worked.

        348.     The Class Representatives assert on behalf of the class that that Defendants, through

 their actions as set forth above individually and/or collectively discriminated and failed to

 accommodate the religious beliefs of the Class though the adoption and implementation of the

 Ascension Health Alliance COVID-19 Vaccination Policy and in doing so violated the laws

 regarding religious accommodation and/or vaccination requirements for health care workers in the

 states of in the states of Alabama, the District of Columbia, Florida, Indiana, Kansas, Maryland,

 Michigan, Missouri, New York, Oklahoma, Tennessee, Texas, and Wisconsin

        349.     Class Representatives assert that Defendants, individually and collectively violated

 the following laws through their failure to accommodate the religious beliefs of the putative class:

            a. District of Columbia – 56 DCR 006029 and D.C. Code 2-1402.11(a)(c)

            b.   Florida – Florida Statute §760.10

            c. Indiana – I.C. 22-5-4.6-7(b)

            d. Kansas – Kansas Act Against Discrimination, K.S. 44-1001 et seq.

            e. Maryland – State Gov. Code 20-603(2) and 20-606

            f. Michigan - The Elliot Larsen Civil Rights Act, M.C.L. § 37.2201, et seq.,

            g. Missouri - Missouri Human Rights Act, M.R.S. §213.010 et seq.




                                                  52
Case 1:22-cv-00638-JMB-PJG              ECF No. 151, PageID.2746            Filed 07/05/24    Page 53
                                                of 57



             h. New York – NY CLS Exec. 296(10)(a)

             i. Oklahoma – Okla Admin. Code § 335:15-5-2

             j. Tennessee – Tennessee Human Rights Act, T.C. Code 4-21-401 et seq.

             k. Texas - Tex. Lab. Code § 21.108

             l. Wisconsin - Wis. Stat. § 111.337

         350.     Plaintiffs and the Class have suffered emotional and physical distress, mental and

 physical anguish, loss of reputation, humiliation, embarrassment, and the physical effects

 associated therewith because of the denial of their requests, and they will so suffer in the future.

         351.     Plaintiffs and the Class have been denied employment and placed in financial

 distress and they have suffered a loss of earnings and benefits, loss of health insurance coverage,

 and a loss of and impairment of their earning capacity and ability to work because of the denial of

 their request.

         352.     Plaintiffs and the Class have been required to employ the services of an attorney as

 a result.

         353.     Defendants’ actions were intentional and/or reckless.

         354.     Involuntary unpaid leave is not a religious accommodation.

                              COUNT IV
        VIOLATION OF RELIGIOUS DISCRIMINATION–RETALIATION
  ON BEHALF OF ALL PLAINTIFFS UNDER STATE LAW INDIVIDUALLY AND ON
      BEHALF OF ALL PLAINTIFFS AND OTHERS SIMILARLY SITUATED

         355.     Plaintiffs restate the foregoing paragraphs as set forth fully herein.

         356.     It is unlawful for an employer to retaliate against employees who communicate

 about employment discrimination or request accommodation for a religious practice.

         357.     Plaintiffs and the Class engaged in protected activity when they requested

 accommodations.



                                                    53
Case 1:22-cv-00638-JMB-PJG            ECF No. 151, PageID.2747             Filed 07/05/24      Page 54
                                              of 57



        358.     Defendants retaliated against them by suspending them on November 12, 2021.

        359.     Defendants’ threat of unpaid suspension was clearly intended to force employees

 to abandon their religious beliefs and receive the vaccine.

        360.     The Class Representatives assert on behalf of the class that that Defendants, through

 their actions as set forth above individually and/or collectively retaliated against the Plaintiffs and

 the Class when the suspended Class Members after they requested accommodations the Ascension

 Health Alliance COVID-19 Vaccination Policy and in doing so violated the laws regarding

 retaliated against health care workers in the states of in the states of Alabama, the District of

 Columbia, Florida, Indiana, Kansas, Maryland, Michigan, Missouri, New York, Oklahoma,

 Tennessee, Texas, and Wisconsin

        361.     Class Representatives assert that Defendants, individually and collectively violated

 the state law regarding retaliation, including but not limited to, the following laws by retaliation

 against Class Members:

            a. District of Columbia – 56 DCR 006029 and D.C. Code 2-1402.11(a)(c)

            b.   Florida – Florida Statute §760.10

            c. Indiana – I.C. 22-5-4.6-7(b)

            d. Kansas – Kansas Act Against Discrimination, K.S. 44-1001 et seq.

            e. Maryland – State Gov. Code 20-603(2) and 20-606

            f. Michigan - The Elliot Larsen Civil Rights Act, M.C.L. § 37.2201, et seq.,

            g. Missouri - Missouri Human Rights Act, M.R.S. §213.010 et seq.

            h. New York – NY CLS Exec. 296(10)(a)

            i. Oklahoma – Okla Admin. Code § 335:15-5-2

            j. Tennessee – Tennessee Human Rights Act, T.C. Code 4-21-401 et seq.




                                                   54
Case 1:22-cv-00638-JMB-PJG              ECF No. 151, PageID.2748           Filed 07/05/24      Page 55
                                                of 57



                k. Texas - Tex. Lab. Code § 21.108

                l. Wisconsin - Wis. Stat. § 111.337

           362.    Plaintiffs and the Class have suffered emotional and physical distress, mental and

 physical anguish, loss of reputation, humiliation, embarrassment, and the physical effects

 associated therewith because of the unlawful retaliatory conduct, and she will so suffer in the

 future.

           363.    Plaintiffs and the Class have been denied employment and placed in financial

 distress and she has suffered a loss of earnings and benefits, and a loss of and impairment of their

 earning capacity and ability to work because of the retaliatory conduct, and she will so suffer in

 the future.

           364.    Plaintiffs and the Class have been required to employ the services of an attorney as

 a result.

           365.    Defendants’ actions were intentional and/or reckless.

                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs and the Class Representatives on behalf of the Class request the

 following relief:

           a.      Compensatory damages for monetary and non-monetary loss;

           b.      Exemplary and punitive damages;

           c.      Prejudgment interest;

           d.      Reasonable attorney’s fees; and

           e.      Such other relief as in law or equity may pertain.




                                                     55
Case 1:22-cv-00638-JMB-PJG   ECF No. 151, PageID.2749      Filed 07/05/24   Page 56
                                     of 57



                                          Respectfully Submitted,

                                          HURWITZ LAW, PLLC

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 Dated: July 5, 2024                      noah@hurwitzlaw.com




                                     56
Case 1:22-cv-00638-JMB-PJG           ECF No. 151, PageID.2750            Filed 07/05/24      Page 57
                                             of 57



                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 5, 2024, I electronically filed the foregoing document with the

 Clerk of the Court using the CM/ECF System which will send notification of such filing to the

 attorney(s) of record.

                                                                  /s/ Brendan J. Childress (P85638)




                                                 57
